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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 0:18-cv-62631-KMM

   LORNA BAXTER,

                  Plaintiff,

   v.

   CREDIT ONE FINANCIAL,

              Defendant.
  ________________________________________/

        JOINT STIPULATION FOR FINAL ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all matters in

  controversy, the parties jointly stipulate to a Dismissal with Prejudice of this action with each

  party to bear its own attorney’s fees and costs.




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                         CONSENT OF COUNSEL FOR DEFENDANT

         Pursuant to Rule 3J (3) of the Administrative Procedures of the United States District

  Court for the Southern District of Florida, the undersigned counsel for Plaintiff represents to the

  Court that counsel for Defendant has authorized him to affix their electronic signature to this

  Joint Stipulation for Final Order of Dismissal with Prejudice.


    /s/ Anthony C. Norman                                 /s/ R. Frank Springfield_______
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   Telephone: (616) 265-5998                              Telephone: (954) 414-6200
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   Co-Counsel for Plaintiff
                                                          Counsel for Credit One Financial




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
  filed on July 3, 2019 with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on the
  Service List below either via transmission of Notices of Electronic Filing generated by CM/ECF
  or in some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.

  Jonathan M. Benjamin, Esq.
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